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                    United States District Court
                                  CIVIL MINUTES - GENERAL


Time: 8:30 – 8:54 a.m.                                             Case # 4:22cv166-MW-MJF

Date April 29, 2022


                   DONALD FALLS v. RONALD DION DESANTIS, et al.

DOCKET ENTRY: TELEPHONIC SCHEDULING CONFERENCE held. Parties discuss case
status and schedule for [4] Motion for Preliminary Injunction hearing. Plaintiff’s witness
declarations due 5/18/22. Defendants’ witness declarations and response to [4] Motion due
6/1/22. Reply due 6/15/55. Parties’ notice re: need for live witnesses due 6/17/22. Preliminary
injunction hearing set for 9:00 am on 6/21/22. Order to follow.


PRESENT: HONORABLE MARK E. WALKER, CHIEF U.S. DISTRICT JUDGE

                         Victoria Milton McGee                 Lisa Snyder
                              Deputy Clerk                     Court Reporter



ATTORNEY(S) APPEARING FOR PLAINTIFF(S):
Jesse Wilkison and Matthew Kachergus

ATTORNEY(S) APPEARING FOR DEFENDANTS RONALD DION DESANTIS, RICHARD
CORCORAN, TOM GRADY, BEN GIBSON, MONESIA BROWN, MARVA JOHNSON,
RYAN PETTY, JOE YORK, BRIAN LAMB, TIMOTHY M. CERIO, AUBREY EDGE,
PATRICIA FROST, EDWARD HADDOCK, H. WAYNE HUIZENGA, JR., NATASSIA
JANVIER, KEN JONES, DARLENE LUCCIO JORDAN, ALAN LEVINE, CHARLES H.
LYDECKER, STEVEN M. SCOTT, WILLIAM SELF, ERIC SILAGY, KENT STERMON:
Charles Cooper, John Ohlendorf and John Ramer


ATTORNEY(S) APPEARING FOR DEFENDANT ASHLEY MOODY:
Timothy Newhall

                                                           Initials of the Clerk: VMM
